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DONALD MASUDA, State Bar No. 096560
Law Office of Donald Masuda
2214 21st Street
Sacramento, California 95818
Telephone: (916) 456-3030
Attorney for Defendant
MITCHELL CHANG




                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                           Case No. 2:08-cr-00544-GEB-1
             Plaintiffs,                           STIPULATION AND ORDER
                                                   (PROPOSED)

MITCHELL CHANG,
           Defendant.
_______________________________________/




             It is hereby stipulated and agreed-to by the United States of America
through OLUSERE OLOWOYEYE, Assistant United States Attorney, and defendant
MITCHELL CHANG, by and through his attorney, DONALD MASUDA, that the
sentencing hearing set for Friday, November 7, 2014, be continued to Friday, December
12, 2014, at 9:00 a.m.
             The Court referred the matter to the probation officer and set a schedule for
disclosure and objections to the Pre-Sentence Report (PSR) on August 22, 2014. Defense
counsel is requesting this continuance of the sentencing hearing to December 12, 2014,
and requests that the schedule for filing a Motion for Correction of the Pre-Sentence
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Report be amended as set forth below. The United States, by and through Assistant U. S.
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STIPULATION AND ORDER
Attorney Olusere Olowoyeye, does not oppose the request. Additionally, the assigned
probation officer has been contacted and is available on the requested sentencing date.
             This request is made on the basis that since receiving the Pre-Sentence
Report defense counsel has been engaged in a state court trial and needs the additional
time to file his Motion for Correction. Defense counsel needs time to further consult
with Mr. Chang regarding the information in the PSR to determine whether or not a
Motion for Correction is warranted. The request for the continuance and amendment of
the schedule is based on defense counsel’s need for additional preparation time.
             The requested modified Schedule for Disclosure of Pre-Sentence Report
and for Filing of Objections to the Pre-Sentence Report follows:
             Motion for Correction of PSR
             (Filed with Court and Counsel)
             No later than:                            November 21, 2014
             Reply or Statement of No Opposition:             November 28, 2014
             Defendant has entered a plea, thereby tolling time under the Speedy Trial
Act (18 U.S.C. § 3161.)
Dated: November 4, 2014
                                         Respectfully submitted,


                                         /s/ Donald Masuda
                                         DONALD MASUDA
                                         Attorney for Defendant
                                         MITCHELL CHANG

                                         /s/ Donald Masuda for
                                         OLUSERE OLOWOYEYE
                                         Assistant U.S. Attorney
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STIPULATION AND ORDER
                                        ORDER
             UPON THE STIPULATION OF THE PARTIES AND GOOD CAUSE
THERE APPEARING, the Court hereby orders that the Sentencing Hearing is continued
to December 12, 2014. It is further ordered that the Schedule for Disclosure of Pre-
Sentence Report and for Filing of Objections to the Pre-Sentence Report is modified as
requested by and agreed-to by the parties.
Dated: November 5, 2014
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STIPULATION AND ORDER
